 

Western District of Washington

   
  
  

A CRIMINAL CASE
ber 1, 198 ar

RECEIVED

UNITED STATES OF AMERICA ENTERED AMENDED JUDGME
ON DOCKET {For Offenses Committ

v FEB AL 2003
ase Number CROQ2-5719R

ROBERTR KEPPEL RY DEPU FEB 20 2003

 

 

 

Date of Original Judgment: _ January 31, 2003 Michelle R_ Burrows GLE HS-DISTRIET TE

(or Date of Last Amended Judgment) Defendant's Attorney By WESTERN DISTRICT OF WASHINGTON er TACOMA

Reason for Amendment: Modification of Supervision Conditions (8U-S-€—$-3563(c) or. 3583(c)) DEPUTY |
Correction of Sentence on Remand (Fed R Crm P 35(a)} ________ Modhfication of Imposed Term of Imprisonment for Extraordinary and Compelling

Reasons (18 US C$ 3582(c)(1))
Reduction of Sentence for Changed Circumstances

(Fed R Crim P 35(b)) Modification of Imposed Term of Imprisonment for Retroactive
Amendment(s) to the Sentencmg Guidelmes (18 US C § 3582(c)(2))

Correction of Sentence by Sentencing Court (Fed R Crim P 35(c))
Threct Motion to District Court Pursuant to 2USC § 2255,
x Correction of Sentence for Clerical Mistake (Fed R Crim P 36) ISUSC § 3559(c)(7), or Modification of Restatution Order

 

THE DEFENDANT :
x pleaded guilty to _the Information on August 8, 2002

pleaded guilty nolo contendere to count (s)
which was accepted by the court

was found guilty on count
after a plea of not guilty

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:

 

 

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
183USC §1832{a)(2), and § 2 Theft of Trade Secrets October 17, 2001 1

The defendant 1s sentenced as provided in pages 2 through __7 of this judgment The sentence 1s mmposed pursuant
to the Sentencing Reform Act of 1984
_____ The defendant has been found not guilty on count(s) , and 1s discharged as to such count(s)
Counts (1s)(are) dismissed on the motion of the Pnited States.

IT IS FURTHER ORDERED that the defendant shall notify the Ontgd States attorney for this district within 30

imposed by this judgment are fully paid
Defendant's Soc Sec No XXX-XX-XXXX

Defendant's Date of Birth 05/11/75

 

January 31, 2003

 

 

 

 

 

Defendant's USM No - __32342-086 Date of Imposition of Sentence
Defendant's Residence Address
4321S. Terlyn Court 2 oF Co a
Portland, OR 97221 Signatule of Judicial Officer
Defent>“t's Salina Address THE HONORABLE RONALD B LEIGHTON
__Sar United States District Judge
OM A 00 0 Name & Title of Judicial Officer

{ART A OT V1 A LO

CR 02 03719 £00000031 Date 3 |
 

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Defendant ROBERT R KEPPEL Judgment--Page _2 of _7_
Case Number. CRO02-5719RBL

IMPRISONMENT

The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be smprisoned
for a total term of __ twelve (12) months + one (1) day

 

X__ The court makes the following recommendations to the Bureau of Prisons.

Defendant serve sentence at BOP facility in Sheridan, Oregon

____ The defendant 1s remanded to the custody of the United States Marshal
___ The defendant shall surrender to the United States Marshal for this district

at am/pm on

 

___as notified by the United States Marshal

X__ The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons

____ before 2pm on

 

___ as notified by the United States Marshal

X__ as notified by the Probation or Pretrial Services Office

RETURN

I have executed this judgment as follows

 

 

Defendant delivered on to at , witha

certified copy of this judgment

 

United States Marshal

 

By
Deputy U S Marshal
AO 245B (Rev_ 8/96) Shee

   

Defendant. ROBERT R. KEPPEL Judgment--Page _3_ of 7

Case Number. CRO2-5719RBL
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of
three (3) years
The defendant shall report to the probation office im the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons
The defendant shall not commut another federal, state, or local crime
The defendant shall not legally possess a controlled substance
For offenses committed on or after September 13, 1994:
The defendant shall refrain from any unlawful use of a controlled substance The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two periodic

drug tests thereafter, as directed by the probation officer.

X_—‘- The above drug testing condition is suspended based on the court's determination that the
defendant poses a low risk of future substance abuse (Check if applicable.)

X_ The defendant shall not possess a firearm as defined n 18 US C § 921. (Check if applicable )

If this judgment imposes a fine or a restitution obligation, 1t shall be a condition of supervised
release that the defendant pay any such fine or restitution that remains unpaid at the commencement of
the term of supervised release in accordance with the Schedule of Payments set forth in the Criminal
Monetary Penalties sheet of this judgment

The defendant shall comply with the standard conditions that have been adopted by this court (set forth

below). The defendant shall also comply with the additional conditions on the attached page (if indicated
below):

SEE ATTACHED PAGE FOR ADDITIONAL CONDITIONS OF SUPERVISION

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month,

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,

4) the defendant shall support lus or her dependents and meet other family responsibilities,

3) the defendant shall work regularly at a Jawful occupation unless excused by the probation officer for schooling, trang, or other acceptable reasons,

6) the defendant shall notify the probation officer 10 days prior to any change 1n residence or employment,

v3) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance, or any
paraphernalia related to any controlled substance, except as prescribed by a physician,

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or admumnustered,

9) the defendant shall not associate with any persons engaged in criminal acuvity, and shall not associate with any person convicted of a felony unless
granted permission to do so by the probation officer,

10) the defendant shall permnt a probation officer to visit him or her at any time at home or elsewhere and shall permut confiscation of any contraband
observed in plain view of the probation officer,

1) the defendant shall notify the probation officer within seventy-two hours of bemg arrested or questioned by a law enforcement officer,

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
court,

13) as directed by the probation officer, the defendant shall noufy third parties of risks that may be occasioned by the defendant's criminal record or

personal history or characteristics, and shall permut the probation officer to make such notifications and to confirm the defendant's compliance with such
notrfication requirement

 
AO 245B (Rev 8/96) Sheet 2

  

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Defendant, ROBERT R KEPPEL Judgment--Page 4 of _7_
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ADDITIONAL SUPERVISED RELEASE TERMS

1 The defendant shail be prohibited from possessing a firearm or destructive device as defined in
18USC § 921

2 The defendant shall submit to mandatory drug testing pursuant to 18 USC § 3563(a)(5) and
18USC § 3583{d) YES NO_X

3 The defendant shall submit to a search of his person, residence, office, property, storage unit or

vehicle conducted in a reasonable manner and at a reasonable time by the U S Probation Office

4 The defendant shall participate in a mental health program, as directed and approved by the US
Probation Office, which includes compliance with psychiatric counseling, psychological counseling,
and or the use of medications prescribed

5 Restitution ordered by the Court is due immediately Any unpaid amount |s to be paid during the
period of supervision as directed by the US Probation Office Interest on the restitution shall be
waived

6 The defendant shall provide his probation officer with access to any requested financial information,

Including authorization to conduct credit checks and obtain copies of defendant's Federal Income
Tax Returns

7 The defendant shall allow the U S. Probation Office to inspect any personal computer owned or
operated by defendant

8 The defendant shall notify his probation officer of all computer software owned or operated by
defendant at the commencement of supervision, and report any additional software purchase,
acquisition, or use during the course of supervision

9 The defendant shall be prohibited from incurring new credit charges or opening additional lines of
credit without approval of the US Probation Office

10 Defendant's employment shall be approved in advance by the U S Probation Office.
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Defendant ROBERT R KEPPEL Judgment--Page _ 5 of __7
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CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties m accordance wrth the schedule of payments
set forth on Sheet 5, Part B

Assessment Fine Restitution
TOTALS: $100 00 $ -0-

If applicable, restitution amount ordered pursuant to plea agreement $

FINE
X_ = The Court finds that the defendant is financially unable and is unlikely to become able to pay a fine and,
accordingly, the imposition of a fine is waived.
The above fine includes costs of incarceration and/or supervision in the amount of $

RESTITUTION

The determination of restitution 1s deferred until An Amended Judgment in a Criminal Case will be
entered after such determimation

X_ The defendant shall make restitution to the following payees im the amounts listed below

If the defendant makes a partial payment, each payee shall recerve an approximately proportional payment unless specified
otherwise in the priority order or percentage payment column below

*Total Amount Amount of Priority Order or
Name of Payee of Loss Restitution Ordered Percentage of Payment
Microsoft Corporation
One Microsoft Way $ $
Building 8 - Room 2062
Redmond, WA 98052
Totals: $ $ 500,000 00_ with a credit of $200,000 CO

 

for the value of the forfeited property

INTEREST ON FINES AND RESTITUTION
The defendant shall pay mterest on any fine or restitution of more than $2,500, unless the fine 1s paid m full before
the fifteenth day after the date of judgment, pursuant to 18 US C § 3612(f) All of the payment options on Sheet 5, Part B
may be subject to penalties for default and delinquency pursuant to 18 USC § 3612(g)

The court has determined that the defendant does not have the ability to pay interest on any fine and/or restitution and it
is ordered that

X__ The interest requirement is waived
The interest requirement 1s modified as follows

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Tile 18 for offenses committed on or after September 13, 1994, but
before April 23, 1996
AO 245B (Rev 8/96) Sheet 5, Pah BAGGauai MawGh Matic QoAB bso OCUMENnt 31 Filed 02/20/03 Page 6 of 8

Defendant ROBERT R KEPPEL Judgment--Page __6 of _7
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SCHEDULE OF PAYMENTS

Payments shall be applied in the following order (1) assessment; (2) restitution, (3) fine principal; (4) cost
of prosecution, (5) interest; (6) penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows

A XX in full ummediately, or

B__ $ immediately, balance due (in accordance with C, D, or E); or

On not later than , or

D__ in mstallments to commence day(s) after the date of this yadgment In the event the entire
amount of criminal monetary penalties imposed 1s not paid prior to the commencement of
supervision, the U S probation officer shall pursue collection of the amount due, and shall request
the court to establish a payment schedule if appropriate; or

E __ in (e g., equal, weekly, monthly, quarterly) installments of $ over a period of

year(s) to commence day(s) after the date of this judgment

The defendant will receive credit for all payments previously made toward any criminal monetary penalties
imposed

Special instructions regarding the payment of criminal monetary penalties.

XX ##§MAKE CHECK(S) FOR ALL CRIMINAL MONETARY PENALTIES, INCLUDING SPECIAL ASSESSMENTS, FINES, AND
RESTITUTION, PAYABLE TO

United States District Court Clerk, Western District of Washington For restitution payments, the Court 1s to forward money
received to Microsoft Corporation (name of party[1es] receiving restitution) See address on page 5___ of this judgment

The defendant shall pay the cost of prosecution

x The defendant shall forfeit the defendant's interest in the following property to the United States

See page 7 of this Judgment

Unless the court has expressly ordered otherwise m the special instructions above, if this judgment imposes a period of impnsonment payment of criminal
monetary penalties shall be due during the period of imprisonment Al] criminal monetary penalty payments, except those payments made through the Bureau of Prisons’
Inmate Financial Responsibility Program, are to be made as directed by the court, the probation officer, or the United States Attorney

 
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Defendant ROBERT R KEPPEL Judgment--Page 7 of _7
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FORFEITURE

1, $12,552.77 in U S, FUNDS, more or less, from US Bank, Account
153607353031 in the name of Keen Interactive Business,

2. $1,062.12 in U.S. FUNDS, more or less, from US Bank, account
153591054652 in the name of Robert Keppel,

3. $1,570 16 from US Bank, more or less account 153604461670 in the
name of Robert Keppel,

4 $41,785 93 from US BANK more or less, account 153691259540 m the
name of Cheat Sheets,

3. 2001 LEXUS RX300, VIN # JTJHF10U910197713,

6 1997 FERRARI 355 SPIDER CONVERTIBLE, VIN #
ZFFXR48A0V0107499
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car
United States District Court
for the
Western District of Washington
February 21, 2003

* * MATLING CERTIFICATE OF CLERK * *

Re: 3:02-cr-05719

True and correct copies of the attached were mailed by the clerk to the
following

USPO - Tacoma

US PROBATION OFFICE
ROOM 1310

1717 PACIFIC AVE
TACOMA, WA 98402-3231
FAX 1-253-593-6378

PTS - Tacoma
PRETRIAL SERVICES
LVI? PACIFIC AVE
TACOMA, WA 98402
FAX 1-253-593-6435

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6 cc to USMO

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